               Case 2:18-bk-20374-ER                      Doc 10 Filed 09/19/18 Entered 09/19/18 23:25:06                                             Desc
                                                           Main Document     Page 1 of 2
 Fill in this information to identify your case:

                     Melendez Jenny
 Debtor 1          __________________________________________________________________
                     First Name             Middle Name                Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name             Middle Name                Last Name


                                         ______________________
 United States Bankruptcy Court for the: Central District of California District of __________

                                                                                                                                                   Check if this is an
                                                                                    (State)
 Case number          2:18-bk-20374-ER
                     ___________________________________________
  (If known)
                                                                                                                                                      amended filing


Official Form 106C
Sche dule C: T he Prope r t y You Cla im a s Exe m pt                                                                                                             4/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


 Pa rt 1 :       I de nt ify the Prope rt y You Cla im a s Ex e mpt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
     
      You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)
     ✔ You are claiming state and federal nonbankruptcy exemptions.                11 U.S.C. § 522(b)(3)




 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


       Brief description of the property and line on       Current value of the                      Amount of the                  Specific laws that allow exemption
       Schedule A/B that lists this property               portion you own                           exemption you claim

                                                           Copy the value from                       Check only one box
                                                           Schedule A/B                              for each exemption


                                                                                              
                 1225 West 123rd Street                                                                                             Cal. Civ. Proc. Code § 704.730,
 Brief                                                             192,500.00                                                       704.950
                                                                  $________________           ✔ $ ____________
                                                                                                  75,000.00
                                                                                                100% of fair market value, up to
 description:

 Line from                                                                                         any applicable statutory limit
 Schedule A/B:        1.1


                                                                                               $ ____________
                 1225 West 123rd Street                                                                                             Cal. Civ. Proc. Code § 704.730 (a)(2)
 Brief
                                                                  $________________
                                                                    192,500.00                    100,000.00
                                                                                                100% of fair market value, up to
                                                                                               ✔
 description:
 Line from                                                                                         any applicable statutory limit
 Schedule A/B:        1.1

                                                                                              
                 1225 West 123rd Street                                                                                             Cal. Civ. Proc. Code § 704.730,
 Brief                                                                                                                              704.950
                                                                  $________________
                                                                    192,500.00                ✔ $ ____________
                                                                                                  75,000.00
                                                                                                100% of fair market value, up to
 description:

 Line from                                                                                         any applicable statutory limit
 Schedule A/B:           1.1

 3. Are you claiming a homestead exemption of more than $160,375?
     (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)

     
     
     ✔     No
           Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
          
          
                  No
                  Yes



Official Form 106C                                         Schedule C: The Property You Claim as Exempt                                                               2
                                                                                                                                                            page 1 of __
             Case 2:18-bk-20374-ER Doc 10 Filed 09/19/18 Entered 09/19/18 23:25:06 Desc
Debtor          Melendez Jenny                     Main Document
               _______________________________________________________ Page 2Case
                                                                              of number
                                                                                  2                2:18-bk-20374-ER
                                                                                        (if known)_____________________________________
                First Name     Middle Name         Last Name




 Pa rt 2 :     Addit iona l Pa ge

            description of the property and line
         Brief                                                                           Amount of the                        Specific laws that allow exemption
                                                                  Current value of the   exemption you claim
         on Schedule A/B that lists this property                 portion you own
                                                                 Copy the value from    Check only one box
                                                                  Schedule A/B           for each exemption
               1225 West 123rd Street

                                                                                         
                                                                                                                               Cal. Civ. Proc. Code § 704.730 (a)(2)
Brief                                                               192,500.00
                                                                   $________________         100,000.00
                                                                                         ✔ $ ____________

                                                                                          100% of fair market value, up to
description:
Line from                                                                                    any applicable statutory limit
Schedule A/B:        1.1


                                                                                         
               1225 West 123rd Street                                                                                          Cal. Civ. Proc. Code § 704.730 (a)(3)
Brief
                                                                   $________________
                                                                    192,500.00           ✔ $ ____________
                                                                                             100,000.00
                                                                                          100% of fair market value, up to
description:

                                                                                             any applicable statutory limit
Line from
Schedule A/B:        1.1


                                                                                         
               1225 West 123rd Street                                                                                          Cal. Civ. Proc. Code § 704.730,
Brief                                                                                                                          704.950
                                                                   $________________
                                                                    192,500.00           ✔ $ ____________
                                                                                             75,000.00
                                                                                          100% of fair market value, up to
description:

Line from                                                                                    any applicable statutory limit
Schedule A/B:        1.1


                                                                                         
               2001 Toyota Corrola                                                                                             Cal. Civ. Proc. Code § 703.140 (b)(2)
Brief
description:                                                       $________________
                                                                    1,500.00             ✔ $ ____________
                                                                                             1,500.00
                                                                                          100% of fair market value, up to
Line from                                                                                    any applicable statutory limit
Schedule A/B:         3.1


                                                                                         
               2006 Infinity G35                                                                                               Cal. Civ. Proc. Code § 703.140 (b)(2)
Brief
description:                                                       $________________
                                                                    5,100.00                 5,100.00
                                                                                         ✔ $ ____________

                                                                                          100% of fair market value, up to
Line from                                                                                    any applicable statutory limit
Schedule A/B:         3.2


                                                                                         
               2006 Infinity G35                                                                                               Cal. Civ. Proc. Code § 703.140 (b)(2)
Brief                                                               5,100.00
                                                                   $________________         1,500.00
                                                                                         ✔ $ ____________

                                                                                          100% of fair market value, up to
description:

Line from                                                                                    any applicable statutory limit
Schedule A/B:       3.2


                                                                                         
             Household goods - Living room Furniture                                                                           Cal. Civ. Proc. Code § 704.020
Brief        Bedroom Furniture                                      1,200.00                 1,200.00
                                                                   $________________     ✔ $ ____________

                                                                                          100% of fair market value, up to
description: Kitchen Appliances
Line from                                                                                    any applicable statutory limit
Schedule A/B:         6


                                                                                         
               Clothing - Womens Clothing                                                                                      Cal. Civ. Proc. Code § 704.020
Brief
                                                                   $________________
                                                                    400.00               ✔ $ ____________
                                                                                             400.00
                                                                                          100% of fair market value, up to
description:

                                                                                             any applicable statutory limit
Line from
Schedule A/B:         11


                                                                                          $ ____________
               Jewelry - Womens costume Jewelery                                                                               Cal. Civ. Proc. Code § 704.040
Brief                                                               300.00                   300.00
                                                                   $________________     ✔

                                                                                          100% of fair market value, up to
description:

Line from                                                                                    any applicable statutory limit
Schedule A/B:         12


                                                                                          $ ____________
               Wells Fargo - Checking (Checking)                                                                               Cal. Civ. Proc. Code § 704.070
Brief                                                               300.00
                                                                   $________________     ✔   300.00
                                                                                          100% of fair market value, up to
description:
Line from                                                                                    any applicable statutory limit
Schedule A/B:       17.1


                                                                                         
               CALPERS Retirement Account                                                                                      Cal. Civ. Proc. Code 704.110
Brief
                                                                   $________________
                                                                    Unknown              ✔ $ ____________
                                                                                             150,000.00
                                                                                          100% of fair market value, up to
description:
                                                                                             any applicable statutory limit
Line from
Schedule A/B:       21


                                                                                         
               AFLAC Life INsurance                                                                                            Cal. Civ. Proc. Code § 704.100 (a)
Brief                                                               75,000.00
                                                                   $________________         75,000.00
                                                                                         ✔ $ ____________

                                                                                          100% of fair market value, up to
description:

Line from                                                                                    any applicable statutory limit
Schedule A/B:           31


 Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                  2
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